Case 1:23-cv-03754-BAH   Document 36-8   Filed 01/08/25   Page 1 of 55




             EXHIBIT 7
      Case 1:23-cv-03754-BAH                  Document 36-8                Filed 01/08/25             Page 2 of 55


From:             Ryan, Timothy
To:               "Joe Sibley"
Cc:               Gottlieb, Michael; Governski, Meryl Conant; Houghton-Larsen, M Annie; "John Langford"
Subject:          RE: Freeman v. Giuliani, 1:21-cv-03354-BAH - Notice of Intent to Serve Third-Party Subpoenas
Date:             Tuesday, May 16, 2023 12:54:35 PM
Attachments:      Third Party Subpoena Notice - Ellis.PDF


Mr. Sibley,

Please find attached a revised notice of Plaintiffs’ intention to serve a third-party subpoena in the
above-captioned litigation as well as the corresponding Minute Order and docket. We have added
the time of the deposition to the subpoena; otherwise, the attached is substantively identical to the
notice sent to you in the preceding email on May 11.

Thanks,

Tim


Timothy Ryan
Willkie Farr & Gallagher LLP
1875 K Street, N.W. | Washington, DC 20006-1238
Direct: +1 202 303 1183 | Fax: +1 202 303 2000
tryan@willkie.com | vCard | www.willkie.com bio
Pronouns: he, him, his


From: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
Sent: Thursday, May 11, 2023 5:07 PM
To: 'Joe Sibley' <sibley@camarasibley.com>
Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; 'John Langford' <john.langford@protectdemocracy.org>; Ryan, Timothy
<TRyan@willkie.com>
Subject: Freeman v. Giuliani, 1:21-cv-03354-BAH - Notice of Intent to Serve Third-Party Subpoenas

Mr. Sibley,

Per yesterday’s minute order, please find attached a notice of Plaintiffs’ intention to serve a third-
party subpoena in the above-captioned litigation as well as the corresponding Minute Order and
docket.

Thank you,
Annie


M.Annie Houghton-Larsen
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8164 | Fax: +1 212 728 9164
mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
    Case 1:23-cv-03754-BAH   Document 36-8   Filed 01/08/25   Page 3 of 55


Pronouns: she, her, hers
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

RUBY FREEMAN, et al.,

                    Plaintiffs,                Case No. 1:21-cv-03354 (BAH)

             v.                                Chief Judge Beryl A. Howell

RUDOLPH W. GIULIANI,

                    Defendant.




     PLAINTIFFS’ NOTICE OF SUBPOENA DUCES TECUM TO JENNA ELLIS

       PLEASE TAKE NOTICE that, pursuant to Rules 34 and 45 of the Federal Rules of Civil

Procedure and the Court’s Minute Order dated May 10, 2023, Plaintiffs Ruby Freeman and

Wandrea ArShaye (“Shaye”) Moss will serve on Jenna Ellis the subpoena attached

hereto, pursuant to which Plaintiffs will take the deposition of Jenna Ellis via =Rom on June

22, 2023 starting at 9:30 AM, DV GHWDLOHG LQ WKH DWWDFKHG VXESRHQD additionally

Jenna Ellis is requested to produce documents, communications, electronically stored

information, and objects at the offices of Willkie Farr & Gallagher LLP, 1875 K St. NW

#100, Washington, DC 20006 or such other place as may be mutually agreed upon, on or

before June 22, 2023.     The deposition will be recorded by stenographic and audiovisual

means and shall continue day-to-day until completed. 7KHSDVVFRGHWRWKH=RRPVHVVLRQFDQEH

SURYLGHGXQGHUVHSDUDWHFRYHUXSRQUHTXHVW
    Case 1:23-cv-03754-BAH   Document 36-8    Filed 01/08/25    Page 5 of 55

DATED: May 1, 2023

                                         /s/ Meryl C. Governski
                                         WILLKIE FARR & GALLAGHER LLP
                                         MERYL C. GOVERNSKI (D.C. Bar No.
                                         1023549)
                                         MICHAEL J. GOTTLIEB (D.C. Bar No.
                                         974960)
                                         1875 K Street, #100
                                         Washington, DC 20006
                                         Tel: (202) 303-1000
                                         Fax: (202) 303-2000
                                         mgovernski@willkie.com
                                         mgottlieb@willkie.com


                                         Attorneys for Plaintiffs Ruby Freeman and
                                         Wandrea Moss




                                   -2-
     Case 1:23-cv-03754-BAH        Document 36-8        Filed 01/08/25     Page 6 of 55


                                CERTIFICATE OF SERVICE
       I hereby certify that on May 1, 2023, a copy of the foregoing document was emailed

to Defendant   Rudolph    W.     Giuliani   via   his   counsel   Joseph    D.   Sibley   IV

at   sibley@camarasibley.com.


       Dated: May 1, 2023

                                                  /s/ Meryl C. Governski
                                                  WILLKIE FARR & GALLAGHER LLP
                                                  MERYL C. GOVERNSKI (D.C. Bar No.
                                                  1023549)
                                                  1875 K Street, #100
                                                  Washington, DC 20006
                                                  Tel: (202) 303-1000
                                                  Fax: (202) 303-2000
                                                  mgovernski@willkie.com




                                            -3-
     Case 1:23-cv-03754-BAH                Document 36-8              Filed 01/08/25            Page 7 of 55


From:           DCD_ECFNotice@dcd.uscourts.gov
To:             DCD_ECFNotice@dcd.uscourts.gov
Subject:        Activity in Case 1:21-cv-03354-BAH FREEMAN et al v. HERRING NETWORKS, INC. et al Order on Motion for
                Miscellaneous Relief
Date:           Wednesday, May 10, 2023 4:42:51 PM



                                    *** EXTERNAL EMAIL ***


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RESPOND to this e-mail because the mail box is unattended.
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referenced document is a transcript, the free copy and 30 page limit do not apply.

                                            U.S. District Court

                                           District of Columbia

Notice of Electronic Filing

The following transaction was entered on 5/10/2023 at 4:41 PM and filed on 5/10/2023
Case Name:           FREEMAN et al v. HERRING NETWORKS, INC. et al
Case Number:         1:21-cv-03354-BAH
Filer:
Document Number: No document attached

Docket Text:
MINUTE ORDER (paperless) GRANTING plaintiffs' [58] Unopposed Motion for
Order Permitting Plaintiffs to Serve a Rule 45 Subpoena on Third-Party Jenna
Ellis via Alternative Service and Amending the Scheduling Order to Permit
Plaintiffs to Take Three Depositions After the Close of Fact Discovery ("Pls.'
Mot."), upon consideration of this Motion and the accompanying affidavits
indicating plaintiffs' repeated efforts to contact and serve Jenna Ellis ["Ellis"],
see [58-1] Declaration of Attorney John Langford in Support of Pls.' Mot.; [58-7]
First Email Chain with Ellis' Counsel; [58-8] Second Email Chain with Ellis'
Counsel; [58-9] May 8, 2023, Affidavit of Due Diligence; [58-11] May 9, 2023,
Affidavit of Due Diligence; [58-12] Email Chain with Defendant's Counsel; [58-
13] Email Chain Between Private Investigator and USPS; and [58-14] Ellis USPS
Request.

While Federal Rule of Civil Procedure 45(b)(1) contemplates that third-party
witnesses are to be personally served, see Call of the Wild Movie, LLC v. Does
1-1,062, 770 F. Supp. 2d 332, 362 (D.D.C. 2011) ("The Federal Rules of Civil
Procedure requires personal service of subpoenas. See FED. R. CIV.P. 45(b)
(1)."), "alternative forms of service may be acceptable under Rule 45,"
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particularly "where the witness is aware of the lawsuit, knows that one of the
parties is interested in h[er] testimony, and is aware that there have been
multiple attempts at personal service, and where the proposed alternative
service is reasonably designed to insure the witness' receipt of the subpoena,"
Order, OAO Alfa Bank v. Ctr. For Public Integrity, No. 1:00-cv-02208-JDB (D.D.C.
Jan. 6, 2004); accord United States ex rel. El-Amin v. George Washington Univ. ,
No. 1:95-cv-02000-CKK, 2000 U.S. Dist. LEXIS 15635, at *34 (D.D.C. Oct. 23,
2000); Order, Rich v. Butowsky, No. 18-cv-681-RJL (D.D.C. Jan. 24, 2020), ECF
No. 133; Minute Order (Dec. 20, 2022) (authorizing service of Rule 45 Subpoena
on third-party Katherine Friess via Alternative Methods).

Here, these factors are fully met: (1) Ellis is likely aware of this lawsuit, given
that she was added to defendant's initial disclosures, plaintiffs have attempted
to serve her three times at an address where she is believed to have recently
resided and where her mother currently resides--including one attempt in which
"a woman was in the house when the process server attempted service, but
refused to come to the door"--and they have contacted lawyers known to have
represented Ellis in another matter and who indicated that they were
discussing plaintiffs' request with Ellis, Pls.' Mot. at 7-8, 11-12; and (2) plaintiffs
have offered six other forms of service that will give actual notice of the action
to Ellis, id. at 12-13.

Accordingly, plaintiffs are DIRECTED to serve a third-party subpoena on Jenna
Ellis by each of the following means: (1) emailing a copy of this order
authorizing alternative service and the subpoena to Ellis's lawyers with whom
they have been conferring with regarding Ellis's compliance with the subpoena
in this matter, (2) sending a copy of the order and confirmatory copy of the
subpoena to the Colorado address where plaintiffs have attempted to serve
Ellis three times, (3) emailing a copy of the order and confirmatory copy of the
subpoena to the email addresses plaintiffs have for Ellis, (4) sending a copy of
the order and confirmatory copy of the subpoena to Ellis via direct message to
her Twitter account, where she announced her recent move to an unknown
address in Florida, see [58-10] April 23, 2023, Ellis Tweet, (5) sending a copy of
the order and confirmatory copy of the subpoena to Ellis via direct message to
her Instagram account, and (6) sending a copy of the order and confirmatory
copy of the subpoena to Ellis via direct message to her Facebook account. It is
further ORDERED that plaintiffs may take the deposition of Ellis, Giuliani
Partners LLC, and Giuliani Communications LLC after fact discovery closes on
May 22, 2023. Signed by Judge Beryl A. Howell on May 10, 2023. (lcbah4)


1:21-cv-03354-BAH Notice has been electronically mailed to:

Michael J. Gottlieb mgottlieb@willkie.com, maodc1@willkie.com,
mgovernski@willkie.com

Rachel Goodman    rachel.goodman@protectdemocracy.org, gperezleon@aclu.org
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Daniel Stephen Walsh     dwalsh@law.ga.gov

John Langford     john.langford@protectdemocracy.org

Meryl Conant Governski MGovernski@willkie.com, maodc1@willkie.com, meryl-
governski-1194@ecf.pacerpro.com

Christine Kwon     christine.kwon@protectdemocracy.org

Joseph D. Sibley, IV   sibley@camarasibley.com

Von DuBose       dubose@dubosemiller.com, kamara@dubosemiller.com

John Tyler Knoblett    jknoblett@willkie.com

Marie Annie Houghton-Larsen     mhoughton-larsen@willkie.com

Sara Chimene-Weiss sara.chimene-weiss@protectdemocracy.org,
rebecca.lullo@protectdemocracy.org

1:21-cv-03354-BAH Notice will be delivered by other means to::
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                                                U.S. District Court
                                     District of Columbia (Washington, DC)
                                CIVIL DOCKET FOR CASE #: 1:21-cv-03354-BAH


 FREEMAN et al v. HERRING NETWORKS, INC. et al                                          Date Filed: 12/23/2021
 Assigned to: Judge Beryl A. Howell                                                     Jury Demand: Plaintiff
 Demand: $75,000                                                                        Nature of Suit: 320 Assault Libel & Slander
 Cause: 28:1332 Diversity-Libel,Assault,Slander                                         Jurisdiction: Diversity
 Non-Party Petitioner
 Office of the Secretary of State for the                                represented by Daniel Stephen Walsh
 State of Georgia                                                                       DEPARTMENT OF LAW, STATE OF
 Office of the Secretary of State for the State                                         GEORGIA
 of Georgia                                                                             40 Capitol Square, SW
 214 State Capitol                                                                      Atlanta, GA 30334
 Atlanta, GA 30334                                                                      404-458-3558
 United Sta                                                                             Email: dwalsh@law.ga.gov
 404/458-4558                                                                           LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

 Plaintiff
 RUBY FREEMAN                                                            represented by Christine Kwon
                                                                                        PROTECT DEMOCRACY
                                                                                        555 W. 5th St.
                                                                                        Los Angeles, CA 90013
                                                                                        310-938-7807
                                                                                        Email:
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                                                                                        202-303-1162
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                                                                                        919-619-9819
                                                                                        Email:
                                                                                        john.langford@protectdemocracy.org
                                                                                        PRO HAC VICE

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                                                                                       ATTORNEY TO BE NOTICED

                                                                                  Marie Annie Houghton-Larsen
                                                                                  WILLKIE FARR & GALLAGHER LLP
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                                                                                  PROTECT DEMOCRACY
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                                                                                  Washington, DC 20006
                                                                                  617-233-9834
                                                                                  Email: sara.chimene-
                                                                                  weiss@protectdemocracy.org
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                                                                                  Von DuBose
                                                                                  DUBOSE MILLER
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                                                                                  404-720-8111
                                                                                  Email: dubose@dubosemiller.com
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                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Michael J. Gottlieb
https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?135861197163188-L_1_0-1                                                  2/14
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                                                                                      live database

                                                                                       WILLKIE FARR & GALLAGHER, LLP
                                                                                       1875 K Street, NW
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                                                                                       (202) 303-1442
                                                                                       Fax: (202) 303-2442
                                                                                       Email: mgottlieb@willkie.com
                                                                                       ATTORNEY TO BE NOTICED

 Plaintiff
 WANDREA MOSS                                                            represented by Christine Kwon
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     John Tyler Knoblett
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     John Langford
                                                                                     (See above for address)
                                                                                     PRO HAC VICE
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Marie Annie Houghton-Larsen
                                                                                     (See above for address)
                                                                                     PRO HAC VICE
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Meryl Conant Governski
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Rachel Goodman
                                                                                     (See above for address)
                                                                                     PRO HAC VICE
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Sara Chimene-Weiss
                                                                                     (See above for address)
                                                                                     PRO HAC VICE
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Von DuBose
                                                                                     (See above for address)
                                                                                     PRO HAC VICE
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Michael J. Gottlieb
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Defendant

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5/11/23, 8:40 AM                                           Document   36-8
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                                                                          of Columbia      01/08/25
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 HERRING NETWORKS, INC.
 d/b/a ONE AMERICA NEWS NETWORK
 TERMINATED: 05/11/2022

 Defendant
 CHARLES HERRING
 TERMINATED: 05/11/2022

 Defendant
 ROBERT HERRING
 TERMINATED: 05/11/2022

 Defendant
 CHANEL RION
 TERMINATED: 05/11/2022

 Defendant
 RUDOLPH GIULIANI                                                        represented by Joseph D. Sibley , IV
                                                                                        CAMARA & SIBLEY LLP
                                                                                        1108 Lavaca St
                                                                                        Suite 110263
                                                                                        Austin, TX 78701
                                                                                        713-966-6789
                                                                                        Fax: 713-583-1131
                                                                                        Email: sibley@camarasibley.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  Date Filed            #     Docket Text
  12/23/2021             1 COMPLAINT against RUDOLPH W. GIULIANI, CHARLES HERRING, ROBERT
                           HERRING, HERRING NETWORKS, INC., CHANEL RION with Jury Demand ( Filing
                           fee $ 402 receipt number ADCDC-8947756) filed by RUBY FREEMAN, WANDREA
                           MOSS. (Attachments: # 1 Civil Cover Sheet, # 2 Summons to Herring Networks, Inc., # 3
                           Summons to Charles Herring, # 4 Summons to Robert Herring, # 5 Summons to Chanel
                           Rion, # 6 Summons to Rudolph W. Giuliani)(Gottlieb, Michael) (Entered: 12/23/2021)
  12/23/2021             2 Exparte document, MOTION for Waiver of Local Civil Rule 5.1(c) by RUBY FREEMAN,
                           WANDREA MOSS. (Attachments: # 1 Text of Proposed Order)(Gottlieb, Michael)
                           (Entered: 12/23/2021)
  12/27/2021                  Case Assigned to Chief Judge Beryl A. Howell. (znmg) (Entered: 12/27/2021)
  12/28/2021             3 SUMMONS (5) Issued Electronically as to RUDOLPH W. GIULIANI, CHARLES
                           HERRING, ROBERT HERRING, HERRING NETWORKS, INC., CHANEL RION.
                           (Attachments: # 1 Notice and Consent)(adh, ) (Entered: 12/28/2021)
  12/30/2021             4 STANDING ORDER. Signed by Chief Judge Beryl A. Howell on December 30, 2021.
                           (lcbah4) (Entered: 12/30/2021)
  01/11/2022             5 SEALED DOCUMENT filed by RUBY FREEMAN, WANDREA MOSS(This document
                           is SEALED and only available to authorized persons.)(Gottlieb, Michael) (Entered:
                           01/11/2022)


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                                                                          of Columbia      01/08/25
                                                                                      live database   Page 14 of 55
  01/26/2022             6 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. HERRING
                           NETWORKS, INC. served on 1/6/2022, answer due 1/27/2022 (Attachments: # 1 Index of
                           Exhibits, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D)(Gottlieb, Michael)
                           (Entered: 01/26/2022)
  01/26/2022             7 WAIVER OF SERVICE. CHARLES HERRING waiver sent on 1/24/2022, answer due
                           3/25/2022. (Gottlieb, Michael) (Entered: 01/26/2022)
  01/26/2022             8 WAIVER OF SERVICE. RUDOLPH W. GIULIANI waiver sent on 1/3/2022, answer due
                           3/4/2022. (Gottlieb, Michael) (Entered: 01/26/2022)
  01/26/2022             9 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. ROBERT
                           HERRING served on 1/12/2022, answer due 2/2/2022 (Gottlieb, Michael) (Entered:
                           01/26/2022)
  01/26/2022           10 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. CHANEL
                          RION served on 1/7/2022, answer due 1/28/2022 (Gottlieb, Michael) (Entered:
                          01/26/2022)
  01/26/2022           11 Unopposed MOTION for Extension of Time to Respond to Complaint to March 25, 2022
                          and to Consolidate Deadlines by RUBY FREEMAN, WANDREA MOSS. (Attachments: #
                          1 Text of Proposed Order)(Gottlieb, Michael) (Entered: 01/26/2022)
  01/27/2022                  MINUTE ORDER (paperless) GRANTING plaintiffs' 11 Unopposed Motion for Extension
                              of Time to Respond to Complaint to March 25, 2022, and to Consolidate Deadlines, and
                              DIRECTING defendants to respond to the Complaint by March 25, 2022. Signed by Chief
                              Judge Beryl A. Howell on January 27, 2022. (lcbah4) (Entered: 01/27/2022)
  01/27/2022                  Set/Reset Deadlines: Answer to the Complaint due by 3/25/2022. (ztg) (Entered:
                              01/27/2022)
  03/21/2022           12 Unopposed MOTION for Extension of Time to File Answer re 1 Complaint, , Unopposed
                          MOTION for Briefing Schedule by RUDOLPH GIULIANI. (Attachments: # 1 Text of
                          Proposed Order Proposed Order)(Sibley, Joseph) (Entered: 03/21/2022)
  03/22/2022                  MINUTE ORDER (paperless) GRANTING IN PART and DENYING IN PART defendant
                              RUDOLPH GIULIANI's 12 Unopposed Motion for Extension of Time to Respond to
                              Complaint; DIRECTING plaintiffs and defendants HERRING NETWORKS, INC.,
                              CHARLES HERRING, ROBERT HERRING, and CHANEL RION (the "OAN
                              Defendants") to file a joint status report by April 21, 2022, apprising the Court of the status
                              of settlement negotiations, whether they intend to proceed with litigation, or whether they
                              request additional time to continue negotiations; GRANTING the request for plaintiffs to
                              file an amended complaint by April 25, 2022; and DENYING defendant RUDOLPH
                              GIULIANI's request for an extension in the deadline by which he must respond to
                              plaintiffs' Complaint, as defendant has provided insufficient cause to justify such a
                              substantial extension of time to respond to the Complaint beyond that afforded to him by
                              the Federal Rules. Signed by Chief Judge Beryl A. Howell on March 22, 2022. (lcbah4)
                              (Entered: 03/22/2022)
  03/24/2022                  Set/Reset Deadlines: Plaintiffs and defendants HERRING NETWORKS, INC., CHARLES
                              HERRING, ROBERT HERRING, and CHANEL RION's Joint Status Report due by
                              4/21/2022; Amended Complaint due by 4/25/2022. (ztg) (Entered: 03/24/2022)
  03/25/2022           13 ANSWER to Complaint by RUDOLPH GIULIANI.(Sibley, Joseph) (Entered: 03/25/2022)
  04/21/2022           14 Joint STATUS REPORT Regarding Mediation by RUBY FREEMAN, WANDREA MOSS.
                          (Gottlieb, Michael) (Entered: 04/21/2022)


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  04/25/2022           15 Joint MOTION for Order Approving the Schedule Proposed in the Concurrently Filed
                          Joint Meet and Confer Report by RUBY FREEMAN, WANDREA MOSS. (Attachments:
                          # 1 Text of Proposed Order [Proposed] Joint Scheduling Order)(Gottlieb, Michael)
                          (Entered: 04/25/2022)
  04/25/2022           16 MEET AND CONFER STATEMENT. (Gottlieb, Michael) (Entered: 04/25/2022)
  04/26/2022                  MINUTE ORDER (paperless) GRANTING the parties' 15 Joint Motion for Order
                              Approving the Schedule Proposed in the Concurrently Filed Joint Meet and Confer Report,
                              and ISSUING the following SCHEDULING ORDER to control the timing of proceedings
                              in this matter:
                              1. By May 10, 2022, the parties shall file any amended pleadings and join any additional
                              parties;
                              2. By May 18, 2022, the parties shall exchange initial disclosures required by Federal Rule
                              of Civil Procedure 26(a)(1);
                              3. By June 6, 2022, defendant shall file any motion under Federal Rule of Civil Procedure
                              12, with any opposition due by June 27, 2022, and any reply by July 11, 2022;
                              4. By November 22, 2022, all fact discovery shall close (including answers to
                              interrogatories, document production, requests for admission, and depositions);
                              5. By December 16, 2022, all experts shall be designated with required expert disclosures,
                              and by January 27, 2023, any rebuttal experts designated with required rebuttal expert
                              disclosures; and
                              6. By February 17, 2023, expert discovery shall be completed, and the parties shall file a
                              joint status report advising the Court whether (a) they request referral for mediation or
                              settlement; (b) they request a date for a pretrial conference; or (c) dispositive motions are
                              anticipated. Signed by Chief Judge Beryl A. Howell on April 26, 2022. (lcbah4) (Entered:
                              04/26/2022)
  04/27/2022                  Set/Reset Deadlines: Amended pleadings/joinder of parties due by 5/10/2022; initial
                              disclosures due by 5/18/2022; any motion under Federal Rule of Civil Procedure 12 due by
                              6/6/2022; opposition due by 6/27/2022; reply due by 7/11/2022; fact discovery due by
                              11/22/2022; expert disclosures due by 12/16/2022; rebuttal expert designation due by
                              1/27/2023; all discovery due by 2/17/2023. (ztg) (Entered: 04/27/2022)
  04/29/2022           17 MOTION for Leave to Appear Pro Hac Vice :Attorney Name- Von A. DuBose, Filing fee $
                          100, receipt number ADCDC-9205365. Fee Status: Fee Paid. by RUBY FREEMAN,
                          WANDREA MOSS. (Attachments: # 1 Declaration of Von A. DuBose, # 2 Text of
                          Proposed Order)(Gottlieb, Michael) (Entered: 04/29/2022)
  04/29/2022           18 MOTION for Leave to Appear Pro Hac Vice :Attorney Name- Rachel Goodman, Filing fee
                          $ 100, receipt number ADCDC-9205400. Fee Status: Fee Paid. by RUBY FREEMAN,
                          WANDREA MOSS. (Attachments: # 1 Declaration of Rachel Goodman, # 2 Text of
                          Proposed Order)(Gottlieb, Michael) (Entered: 04/29/2022)
  04/29/2022           19 MOTION for Leave to Appear Pro Hac Vice :Attorney Name- Kurt G. Kastorf, Filing fee
                          $ 100, receipt number ADCDC-9205434. Fee Status: Fee Paid. by RUBY FREEMAN,
                          WANDREA MOSS. (Attachments: # 1 Declaration of Kurt G. Kastorf, # 2 Text of
                          Proposed Order)(Gottlieb, Michael) (Entered: 04/29/2022)
  04/29/2022           20 MOTION for Leave to Appear Pro Hac Vice :Attorney Name- John Langford, Filing fee $
                          100, receipt number ADCDC-9205462. Fee Status: Fee Paid. by RUBY FREEMAN,
                          WANDREA MOSS. (Attachments: # 1 Declaration of John Langford, # 2 Text of Proposed
                          Order)(Gottlieb, Michael) (Entered: 04/29/2022)
  05/02/2022                  MINUTE ORDER (paperless) GRANTING plaintiff's 17 Motion for Admission of
                              Attorney Pro Hac Vice. Mr. Von A. DuBose may enter an appearance pro hac vice for the
                              purpose of representing plaintiffs in this action. Counsel should register for e-filing via
https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?135861197163188-L_1_0-1                                                      6/14
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                          PACER and file a notice of appearance pursuant to LCvR 83.6(a) Click for
                          instructions. Signed by Chief Judge Beryl A. Howell on May 2, 2022. (lcbah4) (Entered:
                          05/02/2022)
  05/02/2022                  MINUTE ORDER (paperless) GRANTING plaintiffs' 18 Motion for Admission of
                              Attorney Pro Hac Vice. Ms. Rachel Elizabeth Goodman may enter an appearance pro hac
                              vice for the purpose of representing plaintiffs in this action. Counsel should register for e-
                              filing via PACER and file a notice of appearance pursuant to LCvR 83.6(a) Click for
                              instructions. Signed by Chief Judge Beryl A. Howell on May 2, 2022. (lcbah4) (Entered:
                              05/02/2022)
  05/02/2022                  MINUTE ORDER (paperless) GRANTING plaintiffs' 19 Motion for Admission of
                              Attorney Pro Hac Vice. Mr. Kurt G. Kastorf may enter an appearance pro hac vice for the
                              purpose of representing plaintiffs in this action. Counsel should register for e-filing via
                              PACER and file a notice of appearance pursuant to LCvR 83.6(a) Click for
                              instructions. Signed by Chief Judge Beryl A. Howell on May 2, 2022. (lcbah4) (Entered:
                              05/02/2022)
  05/02/2022                  MINUTE ORDER (paperless) GRANTING plaintiffs' 20 Motion for Admission of
                              Attorney Pro Hac Vice. Mr. John Thomas Langford may enter an appearance pro hac vice
                              for the purpose of representing plaintiffs in this action. Counsel should register for e-
                              filing via PACER and file a notice of appearance pursuant to LCvR 83.6(a) Click for
                              instructions. Signed by Chief Judge Beryl A. Howell on May 2, 2022. (lcbah4) (Entered:
                              05/02/2022)
  05/10/2022           21 MOTION to Dismiss (Motion for Voluntary Dismissal) by RUBY FREEMAN,
                          WANDREA MOSS. (Attachments: # 1 Text of Proposed Order)(Gottlieb, Michael)
                          (Entered: 05/10/2022)
  05/10/2022           22 AMENDED COMPLAINT against RUDOLPH GIULIANI with Jury Demand filed by
                          RUBY FREEMAN, WANDREA MOSS.(Gottlieb, Michael) (Entered: 05/10/2022)
  05/10/2022           23 NOTICE of Appearance by Meryl Conant Governski on behalf of RUBY FREEMAN,
                          WANDREA MOSS (Governski, Meryl) (Entered: 05/10/2022)
  05/10/2022           24 NOTICE of Appearance by Rachel Goodman on behalf of RUBY FREEMAN,
                          WANDREA MOSS (Goodman, Rachel) (Entered: 05/10/2022)
  05/10/2022           25 NOTICE of Appearance by John Langford on behalf of RUBY FREEMAN, WANDREA
                          MOSS (Langford, John) (Entered: 05/10/2022)
  05/11/2022                  MINUTE ORDER (paperless), GRANTING plaintiffs' 21 Motion for Voluntary Dismissal
                              and Entry of Judgment with Respect as to the OAN Defendants; DISMISSING, with
                              prejudice, defendants HERRING NETWORKS INC., CHARLES HERRING, ROBERT
                              HERRING, and CHANEL RION from the instant action; and DIRECTING entry of final
                              judgment as to defendants HERRING NETWORKS, INC., CHARLES HERRING,
                              ROBERT HERRING, and CHANEL RION. See Fed. R. Civ. P. 54(b). Signed by Chief
                              Judge Beryl A. Howell on May 11, 2022. (lcbah4) (Entered: 05/11/2022)
  06/06/2022           26 MOTION to Dismiss Amended Complaint pursuant to Rule 12(b)(6) by RUDOLPH
                          GIULIANI. (Attachments: # 1 Text of Proposed Order Proposed Order, # 2 Memorandum
                          in Support Memo in Support, # 3 Exhibit Ex A to Memo)(Sibley, Joseph) (Entered:
                          06/06/2022)
  06/27/2022           27 Memorandum in opposition to re 26 MOTION to Dismiss Amended Complaint pursuant to
                          Rule 12(b)(6) filed by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1 Text of
                          Proposed Order Denying Defendant's Motion to Dismiss, # 2 Exhibit A: Snopes.com
                          Article)(Gottlieb, Michael) (Entered: 06/27/2022)
https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?135861197163188-L_1_0-1                                                      7/14
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  08/31/2022           28 Joint MOTION for Extension of Time to Complete Discovery by RUBY FREEMAN,
                          WANDREA MOSS. (Attachments: # 1 Text of Proposed Order)(Gottlieb, Michael)
                          (Entered: 08/31/2022)
  08/31/2022                  MINUTE ORDER (paperless) GRANTING the parties' 28 Joint Motion to Extend
                              Discovery, and AMENDING the SCHEDULING ORDER as follows:
                              1. By May 22, 2023, all fact discovery shall close (including answers to interrogatories,
                              document production, requests for admission, and depositions);
                              2. By June 16, 2023, all experts shall be designated with required expert disclosures, and
                              by July 20, 2023, any rebuttal experts designated with required rebuttal expert disclosures;
                              3. By August 10, 2023, expert discovery shall be completed, and the parties shall file a
                              joint status report advising the Court whether (a) they request referral for mediation or
                              settlement; (b) they request a date for a pretrial conference; or (c) dispositive motions are
                              anticipated;
                              and4. By September 11, 2023, the parties shall file any dispositive motions, with any
                              opposition due on September 25, 2023, and any replies due October 2, 2023. Signed by
                              Chief Judge Beryl A. Howell on August 31, 2022. (lcbah4) (Entered: 08/31/2022)
  09/01/2022                  Set/Reset Deadlines: Fact discovery due by 5/22/2023. Expert disclosures due by
                              6/16/2023. Rebuttal expert disclosures due by 7/20/2023. Expert discovery and joint status
                              report due by 8/10/2023. Dispositive motions due by 9/11/2023. Opposition due by
                              9/25/2023. Reply due by 10/2/2023. (hmc) Corrected typo on 9/6/2022 (ztg). (Entered:
                              09/01/2022)
  09/19/2022           29 NOTICE of Appearance by Von DuBose on behalf of RUBY FREEMAN, WANDREA
                          MOSS (DuBose, Von) (Main Document 29 replaced on 9/21/2022) (zed). (Entered:
                          09/19/2022)
  10/31/2022           30 ORDER denying the defendant's 26 Motion to Dismiss. See Order for further details.
                          Signed by Chief Judge Beryl A. Howell on October 31, 2022. (lcbah4) (Entered:
                          10/31/2022)
  10/31/2022           31 MEMORANDUM OPINION regarding the defendant's 26 Motion to Dismiss. Signed by
                          Chief Judge Beryl A. Howell on October 31, 2022. (lcbah4) (Entered: 10/31/2022)
  11/14/2022           32 MEET AND CONFER STATEMENT. (Gottlieb, Michael) (Entered: 11/14/2022)
  12/12/2022           33 Original ANSWER to 22 Amended Complaint by RUDOLPH GIULIANI.(Sibley, Joseph)
                          (Entered: 12/12/2022)
  12/16/2022           34 Unopposed MOTION for Order Authorizing Plaintiffs to Serve Third-Party Katherine
                          Friess with a Federal Rule of Civil Procedure 45 Subpoena via Alternative Methods by
                          RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration of Attorney John
                          Langford in Support of Plaintiffs' Unopposed Motion for Order Approving Alternative
                          Service of Rule 45 Subpoena on Third-Party Katherine Friess, # 2 Exhibit 1 (Proposed
                          Subpoena to Katherine Friess), # 3 Exhibit 2 (Giuliani Strategic Plan), # 4 Exhibit 3 (Def.'s
                          Amended Answers to Interrogatories), # 5 Exhibit 4 (Def.'s First Privilege Log), # 6
                          Exhibit 5 (Felter Affidavit of Due Diligence), # 7 Exhibit 6 (Friess's Colorado Action), # 8
                          Exhibit 7 (AT&T Letter to Friess), # 9 Exhibit 8 (Friess Declaration), # 10 Exhibit 9 (D.C.
                          Bar Listing for Friess), # 11 Exhibit 10 (Colo. Bar Listing for Friess), # 12 Exhibit 11
                          (Bryson Affidavit of Non-Service), # 13 Exhibit 12 (Langford Emails to Friess's Counsel
                          in Colorado Action), # 14 Exhibit 13 (Printout of Friess's Possible Address), # 15 Exhibit
                          14 (Virginia SCC Listing for Friess's Business), # 16 Exhibit 15 (October Email from
                          Langford to Friess), # 17 Exhibit 16 (December Email from Langford to Friess), # 18
                          Exhibit 17 (Read Receipts Reflecting Friess Opening December Email), # 19 Exhibit 18
                          (Def.'s "V Card" for Friess), # 20 Exhibit 19 (Order, OAO Alfa Bank v. Ctr. For Public
                          Integrity, No. 1:00-cv-02208-JDB (D.D.C. Jan. 6, 2004), ECF No. 122), # 21 Exhibit 20
https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?135861197163188-L_1_0-1                                                    8/14
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                          (Order, Rich v. Butowsky, No. 1:18-cv-00681-RJL(D.D.C. Jan. 24, 2020), ECF No. 133),
                          # 22 Text of Proposed Order)(Langford, John) (Entered: 12/16/2022)
  12/20/2022                  MINUTE ORDER (paperless) GRANTING plaintiffs' 34 Unopposed Motion for Order
                              Authorizing Plaintiffs to Serve Third-Party Katherine Friess with a Federal Rule of Civil
                              Procedure 45 Subpoena via Alternative Methods ("Pls.' Mot."), upon consideration of this
                              Motion and the accompanying affidavits indicating plaintiffs' repeated efforts to contact
                              and serve Katherine Friess ["Friess"], see [34-1] Declaration of Attorney John Langford in
                              Support of Plaintiffs' Unopposed Motion for Order Approving Alternative Service of Rule
                              45 Subpoena on Third-Party Katherine Friess; [34-6] Felter Affidavit of Due Diligence;
                              [34-8] AT&T Letter to Friess; [34-12] Bryson Affidavit of Non-Service; [34-13] Langford
                              Emails to Friess's Counsel in Colorado Action; [34-16] October Email from Langford to
                              Friess; [34-17] December Email from Langford to Friess; and [34-18] Read Receipts
                              Reflecting Friess Opening December Email. While Federal Rule of Civil Procedure 45(b)
                              (1) contemplates that third-party witnesses are to be personally served, see Call of the Wild
                              Movie, LLC v. Does 1-1,062, 770 F. Supp. 2d 332, 362 (D.D.C. 2011) ("The Federal Rules
                              of Civil Procedure requires personal service of subpoenas. See FED. R. CIV.P. 45(b)(1)."),
                              "alternative forms of service may be acceptable under Rule 45," particularly "where the
                              witness is aware of the lawsuit, knows that one of the parties is interested in h[er]
                              testimony, and is aware that there have been multiple attempts at personal service, and
                              where the proposed alternative service is reasonably designed to insure the witness' receipt
                              of the subpoena," Order, OAO Alfa Bank v. Ctr. For Public Integrity, No. 1:00-cv-02208-
                              JDB (D.D.C. Jan. 6, 2004); accord United States ex rel. El-Amin v. George Washington
                              Univ., No. 1:95-cv-02000-CKK, 2000 U.S. Dist. LEXIS 15635, at *34 (D.D.C. Oct. 23,
                              2000); Order, Rich v. Butowsky, No. 18-cv-681-RJL (D.D.C. Jan. 24, 2020), ECF No. 133.
                              Here, these factors are fully met: (1) Friess is likely aware of this lawsuit, given that
                              plaintiffs have attempted to serve her at six different addresses where she may be residing,
                              they have contacted counsel known to represent Friess in other matters, and they have
                              emailed Friess directly at five different email addresses, Pls.' Mot. at 1920; (2) plaintiffs
                              have attempted to serve Friess more than ten times over four months at six different
                              addresses in three different states, id. at 6; and (3) plaintiffs have offered three other forms
                              of service that will give actual notice of the action to Friess, including by emailing her
                              counsel and her personally, and mailing her to her known addresses, id. at 22-23.
                              Accordingly, plaintiffs are DIRECTED to serve a third-party subpoena on Katherine Friess
                              by each of the following means: (1) emailing a copy of this order and the subpoena to each
                              of the email addresses plaintiffs have for Friess, (2) sending a copy of the order and
                              confirmatory copy of the subpoena to all of the Colorado addresses plaintiffs have
                              attempted to serve Friess to-date, and (3) sending a copy of the order and confirmatory
                              copy of the subpoena to Friess's attorney in the Colorado litigation regarding the
                              Congressional subpoena for Friess's phone records, see Compl., Friess v. Thompson, No.
                              22-cv-448 (D. Colo. Feb. 22, 2022), ECF No. 1. Signed by Chief Judge Beryl A. Howell
                              on December 20, 2022. (lcbah4) (Entered: 12/20/2022)
  03/16/2023           35 MOTION for Leave to Appear Pro Hac Vice :Attorney Name- Marie Anne Houghton-
                          Larsen, Filing fee $ 100, receipt number ADCDC-9932098. Fee Status: Fee Paid. by
                          RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration, # 2 Exhibit
                          Certificate of Good Standing, # 3 Text of Proposed Order)(Gottlieb, Michael) (Entered:
                          03/16/2023)
  03/16/2023                  NOTICE OF HEARING: The parties shall take notice that a Discovery Hearing is
                              scheduled for March 21, 2023, at 9:40 AM via videoconference before Chief Judge Beryl
                              A. Howell. The deputy clerk will provide the parties with a link to connect to the
                              courtroom via videoconference. (ztg) (Entered: 03/16/2023)
  03/20/2023                  MINUTE ORDER (paperless), upon consideration of plaintiff's email to the Court on
                              March 16, 2023 ("March 16 Email"), DIRECTING plaintiff to provide a more detailed
https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?135861197163188-L_1_0-1                                                      9/14
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                          explanation of and timeline for the discovery issues in dispute by 3:00 PM today, March
                          20, 2023, by (1) summarizing the "two fulsome deficiency letters" plaintiff submitted to
                          defendant, the dates issued and dates of requested responses, subject matter for which
                          discovery was requested, and attaching those letters as exhibits; (2) clarifying the scope of
                          defendant's failure to preserve, search, or produce documents in response to plaintiff's
                          requests for production; and (3) explaining what relief plaintiff seeks from the Court, see
                          March 16 Email; and FURTHER DIRECTING defendant to file any response to plaintiff's
                          filing by 5:00 PM today. Signed by Judge Beryl A Howell on March 20, 2023. (lcbah4)
                          (Entered: 03/20/2023)
  03/20/2023                  MINUTE ORDER (paperless) GRANTING plaintiffs' 35 Motion for Marie Anne
                              Houghton-Larsen to Appear Pro Hac Vice. Ms. Houghton-Larsen may enter an appearance
                              pro hac vice for the purpose of representing plaintiffs in this action. Counsel should
                              register for e-filing via PACER and file a notice of appearance pursuant to LCvR 83.6(a).
                              Signed by Judge Beryl A Howell on March 20, 2023. (lcbah4) (Entered: 03/20/2023)
  03/20/2023           36 RESPONSE TO ORDER OF THE COURT re Order,,, Directing the Plaintiff to Provide a
                          Detailed Explanation of the Timeline for Discovery Issues in Dispute filed by RUBY
                          FREEMAN, WANDREA MOSS. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Gottlieb,
                          Michael) (Entered: 03/20/2023)
  03/20/2023                  MINUTE ORDER (paperless) DIRECTING that defendant Rudolph Giuliani appear for
                              the Discovery Hearing scheduled for March 21, 2023 at 9:40 AM via videoconference
                              before Judge Beryl A. Howell. Signed by Judge Beryl A Howell on March 20, 2023.
                              (lcbah4) (Entered: 03/20/2023)
  03/20/2023           37 ERRATA by RUBY FREEMAN, WANDREA MOSS re 36 Response to Order of the
                          Court,. (Gottlieb, Michael) (Entered: 03/20/2023)
  03/20/2023           38 MEMORANDUM by RUDOLPH GIULIANI. (Attachments: # 1 Exhibit Ex A)(Sibley,
                          Joseph) (Entered: 03/20/2023)
  03/21/2023           39 NOTICE of Appearance by Marie Annie Houghton-Larsen on behalf of RUBY
                          FREEMAN, WANDREA MOSS (Houghton-Larsen, Marie) (Entered: 03/21/2023)
  03/21/2023                  Minute Entry for proceedings held before Judge Beryl A Howell: Discovery Hearing held
                              on 3/21/2023. An Order with directives and deadlines will be issued by the Court. (Court
                              Reporter Elizabeth Saint-Loth.) (ztg) (Entered: 03/21/2023)
  03/21/2023                  MINUTE ORDER (paperless) DIRECTING, upon consideration of the parties' responses
                              to the Court's March 20, 2023 Minute Order, see Pls.' 36 Resp. to Order of the Court;
                              Def.'s 38 Memorandum, and the hearing held today, that

                              (1) by March 24, 2023, plaintiffs shall provide defendant with supplemental
                              interrogatories, as discussed at the hearing;
                              (2) by March 24, 2023, defendant shall (a) submit notice to the Court describing in specific
                              terms the data on the "Trust Point" database that were searched in response to plaintiffs'
                              Requests for Production (RFPs), including date range and contents (e.g., social media
                              accounts, text messages, and communications on other messaging platforms, such as
                              Signal, Telegram, etc.); (b) what locations and data sources remain for searches to be
                              completed to respond fully to plaintiffs RFPs; (c) provide updated complete responses to
                              plaintiffs' Requests for Admission 82, 83, and 90; and (d) provide updated initial
                              disclosures to plaintiffs, pursuant to Federal Rule of Civil Procedure 26(a);
                              (3) by March 30, 2023, defendant shall (a) complete searches and production of responsive
                              records to plaintiffs' RFPs; (b) provide responses in full to plaintiffs' supplemental
                              interrogatories; and
                              (4) by April 10, 2023, the parties shall jointly submit a status report apprising the Court on
https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?135861197163188-L_1_0-1                                                   10/14
5/11/23, 8:40 AM   Case 1:23-cv-03754-BAH Document               36-8
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                          their progress in resolving their discovery disputes, clarifying whether plaintiffs intend to
                          file any motion to compel and, if so, proposing a briefing schedule for any motion to
                          compel. Signed by Judge Beryl A Howell on March 21, 2023. (lcbah4) (Entered:
                          03/21/2023)
  03/21/2023                  Set/Reset Deadlines: Parties' responses to Order of the Court due by 3/24/2023;
                              defendant's complete searches and production of responsive records to plaintiffs' requests
                              for production, and responses in full to plaintiffs' supplemental interrogatories due by
                              3/30/2023; Joint Status Report due by 4/10/2023. (ztg) (Entered: 03/21/2023)
  03/24/2023           40 STATUS REPORT re March 21, 2023 Minute Order by RUDOLPH GIULIANI. (Sibley,
                          Joseph) (Entered: 03/24/2023)
  03/29/2023           41 TRANSCRIPT OF PROCEEDINGS, before Judge Beryl A. Howell, held on 3-21-2023.
                          Page Numbers: 1 - 47. Date of Issuance: 3-29-2023. Court Reporter: Elizabeth SaintLoth,
                          Telephone number 202-354-3242. Transcripts may be ordered by submitting the Transcript
                          Order Form

                              For the first 90 days after this filing date, the transcript may be viewed at the courthouse at
                              a public terminal or purchased from the court reporter referenced above. After 90 days, the
                              transcript may be accessed via PACER. Other transcript formats, (multi-page, condensed,
                              CD or ASCII) may be purchased from the court reporter.

                              NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one days to
                              file with the court and the court reporter any request to redact personal identifiers from this
                              transcript. If no such requests are filed, the transcript will be made available to the public
                              via PACER without redaction after 90 days. The policy, which includes the five personal
                              identifiers specifically covered, is located on our website at www.dcd.uscourts.gov.

                              Redaction Request due 4/19/2023. Redacted Transcript Deadline set for 4/29/2023.
                              Release of Transcript Restriction set for 6/27/2023.(Saint-Loth, Elizabeth) (Entered:
                              03/29/2023)
  04/10/2023           42 Joint STATUS REPORT by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1
                          Exhibit A)(Gottlieb, Michael) (Entered: 04/10/2023)
  04/11/2023                  MINUTE ORDER (paperless) Upon consideration of the parties' 42 joint status report, and
                              given that the parties are at an impasse regarding the sufficiency of defendant's compliance
                              with his discovery obligations, ISSUING the following SCHEDULING ORDER: (1) By
                              April 17, 2023, plaintiffs shall file any motion to compel; (2) by May 1, 2023, defendant
                              shall file any opposition to plaintiff's motion; and (3) by May 8, 2023, plaintiffs shall file
                              any reply. Signed by Judge Beryl A. Howell on April 11, 2023. (lcbah4) (Entered:
                              04/11/2023)
  04/12/2023                  Set/Reset Deadlines: Motion to compel, if any, due by 4/17/2023; opposition due by
                              5/1/2023; reply due by 5/8/2023. (ztg) (Entered: 04/12/2023)
  04/17/2023           43 Unopposed MOTION for Protective Order by Office of the Secretary of State for the State
                          of Georgia. (Attachments: # 1 Text of Proposed Order Proposed Protective Order)(Walsh,
                          Daniel) Modified on event 4/19/2023 (znmw). (Entered: 04/17/2023)
  04/17/2023           44 MOTION to Compel by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1
                          Declaration, # 2 Index of Exhibits, # 3 Exhibit 1, # 4 Exhibit 2, # 5 Exhibit 3, # 6 Exhibit
                          4, # 7 Exhibit 5, # 8 Exhibit 6, # 9 Exhibit 7, # 10 Exhibit 8, # 11 Exhibit 9, # 12 Exhibit
                          10, # 13 Exhibit 11, # 14 Exhibit 12, # 15 Exhibit 13, # 16 Text of Proposed Order)
                          (Governski, Meryl) (Entered: 04/17/2023)


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  04/18/2023           45 PROTECTIVE ORDER. Signed by Judge Beryl A. Howell on April 18, 2023. (lcbah4)
                          (Entered: 04/18/2023)
  04/20/2023           46 MOTION for Leave to Appear Pro Hac Vice :Attorney Name- Sara Chimene-Weiss, Filing
                          fee $ 100, receipt number BDCDC-10015407. Fee Status: Fee Paid. by RUBY
                          FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration, # 2 Text of Proposed
                          Order)(Langford, John) (Entered: 04/20/2023)
  04/21/2023                  NOTICE OF ERROR re 46 Motion for Leave to Appear Pro Hac Vice; emailed to
                              john.langford@protectdemocracy.org, cc'd 16 associated attorneys -- The PDF file you
                              docketed contained errors: 1. Please note the following deficiency and file/refile
                              document as instructed, 2. Motion must be signed and filed by the sponsoring attorney.
                              Please refile using the even ERRATA. (zed, ) (Entered: 04/21/2023)
  04/24/2023           47 ERRATA by RUBY FREEMAN, WANDREA MOSS re 46 Motion for Leave to Appear
                          Pro Hac Vice,. (Attachments: # 1 Motion for Leave to Appear Pro Hac Vice, # 2
                          Declaration, # 3 Text of Proposed Order)(Governski, Meryl) (Entered: 04/24/2023)
  04/24/2023                  MINUTE ORDER (paperless) GRANTING plaintiffs' 46 Motion for Sara Chimene-Weiss
                              to Appear Pro Hac Vice. Ms. Sara Chimene-Weiss may enter an appearance pro hac vice
                              for the purpose of representing plaintiffs in this action. Counsel should register for e-filing
                              via PACER and file a notice of appearance pursuant to LCvR 83.6(a) Click for
                              instructions. Signed by Judge Beryl A. Howell on April 24, 2023. (lcbah4) (Entered:
                              04/24/2023)
  04/25/2023           48 STIPULATION (Joint Stipulation to Take Additional Depositions) by RUBY FREEMAN,
                          WANDREA MOSS. (Governski, Meryl) (Entered: 04/25/2023)
  04/27/2023                  MINUTE ORDER (paperless) Upon consideration of the parties' 48 Joint Stipulation to
                              Amend the Joint Conference Report and Discovery Plan to Permit the Parties to take up to
                              Four Additional Depositions, AMENDING the 16 Joint Meet and Confer Report to allow
                              plaintiffs to take four additional depositions, for a total of fourteen depositions. Signed by
                              Judge Beryl A. Howell on April 27, 2023. (lcbah4) (Entered: 04/27/2023)
  04/28/2023           49 MOTION for Leave to Appear Pro Hac Vice :Attorney Name- Christine Kwon, Filing fee
                          $ 100, receipt number ADCDC-10034156. Fee Status: Fee Paid. by RUBY FREEMAN,
                          WANDREA MOSS. (Attachments: # 1 Declaration, # 2 Text of Proposed Order)
                          (Governski, Meryl) (Entered: 04/28/2023)
  05/01/2023           50 NOTICE of Appearance by John Tyler Knoblett on behalf of RUBY FREEMAN,
                          WANDREA MOSS (Knoblett, John) (Entered: 05/01/2023)
  05/01/2023           51 RESPONSE re 44 MOTION to Compel filed by RUDOLPH GIULIANI. (Attachments: #
                          1 Declaration Ex A, # 2 Exhibit Ex B)(Sibley, Joseph) (Entered: 05/01/2023)
  05/02/2023                  NOTICE OF ERROR regarding 49 MOTION for Leave to Appear Pro Hac Vice :Attorney
                              Name- Christine Kwon, Filing fee $ 100, receipt number ADCDC-10034156. Fee Status:
                              Fee Paid.. The following error(s) need correction: Pro Hac Vice motion must be
                              accompanied by a Certificate of Good Standing issued within the last 30 days (LCvR
                              83.2(c)(2)). Please file certificate as an Errata (zed) (Entered: 05/02/2023)
  05/02/2023           52 Joint MOTION for Protective Order by RUBY FREEMAN, WANDREA MOSS.
                          (Langford, John) (Entered: 05/02/2023)
  05/02/2023           53 ERRATA by RUBY FREEMAN, WANDREA MOSS re 49 Motion for Leave to Appear
                          Pro Hac Vice,. (Attachments: # 1 Exhibit 1)(Governski, Meryl) (Entered: 05/02/2023)
  05/02/2023                  MINUTE ORDER (paperless) GRANTING plaintiffs' 49 Motion for Christine Kwon to
                              Appear Pro Hac Vice. Ms. Kwon may enter an appearance pro hac vice for the purpose of
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                          representing plaintiffs in this action. Counsel should register for e-filing via PACER and
                          file a notice of appearance pursuant to LCvR 83.6(a) Click for instructions. Signed by
                          Judge Beryl A. Howell on May 2, 2023. (lcbah4) (Entered: 05/02/2023)
  05/02/2023           54 ORDER granting the parties' 52 Joint Motion for Protective Order. See order for further
                          details. Signed by Judge Beryl A. Howell on May 2, 2023. (lcbah4) (Entered: 05/02/2023)
  05/05/2023           55 NOTICE of Appearance by Sara Chimene-Weiss on behalf of RUBY FREEMAN,
                          WANDREA MOSS (Chimene-Weiss, Sara) (Entered: 05/05/2023)
  05/08/2023           56 REPLY to opposition to motion re 44 MOTION to Compel filed by RUBY FREEMAN,
                          WANDREA MOSS. (Attachments: # 1 Declaration, # 2 Exhibit 1, # 3 Exhibit 2, # 4
                          Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10
                          Exhibit 9)(Governski, Meryl) (Entered: 05/08/2023)
  05/09/2023           57 NOTICE of Appearance by Christine Kwon on behalf of RUBY FREEMAN, WANDREA
                          MOSS (Kwon, Christine) (Entered: 05/09/2023)
  05/09/2023           58 Unopposed MOTION for Order Permitting Plaintiffs to Serve a Rule 45 Subpoena on
                          Third-Party Jenna Ellis via Alternative Service and Amending the Scheduling Order to
                          Permit Plaintiffs to Take Three Depositions After the Close of Fact Discovery re Order on
                          Motion for Extension of Time to Complete Discovery,,,, by RUBY FREEMAN,
                          WANDREA MOSS. (Attachments: # 1 Declaration of Attorney John Langford in Support
                          of Plaintiffs' Unopposed Motion, # 2 Exhibit 1 (Proposed Subpoena to Jenna Ellis), # 3
                          Exhibit 2 (Def.'s First Am. Initial Disclosures), # 4 Exhibit 3 (Def.'s Second Am. Initial
                          Disclosures), # 5 Exhibit 4 (Excerpt of Def.'s Dep. Tr.), # 6 Exhibit 5 (Colo. Opinion
                          Approving Stipulation to Discipline), # 7 Exhibit 6 (First Email Chain w/ Kleinbard
                          Counsel), # 8 Exhibit 7 (Second Email Chain w/ Kleinbard Counsel), # 9 Exhibit 8 (May
                          8, 2023, Aff. of Due Diligence), # 10 Exhibit 9 (April 23, 2023, Ellis Tweet), # 11 Exhibit
                          10 (May 9, 2023, Aff. of Due Diligence), # 12 Exhibit 11 (Email Chain w/ Def.'s Counsel),
                          # 13 Exhibit 12 (Email Chain Between Private Investigator and USPS), # 14 Exhibit 13
                          (Ellis USPS Request), # 15 Exhibit 14 (30(b)(6) Subpoena to Giuliani Partners LLC), # 16
                          Exhibit 15 (30(b)(6) Subpoena to Giuliani Communications LLC), # 17 Text of Proposed
                          Order Granting Plaintiffs' Unopposed Motion)(Langford, John) (Entered: 05/09/2023)
  05/10/2023                  NOTICE OF HEARING: The parties shall take notice that a Discovery Hearing is
                              scheduled for 5/19/2023, at 11:00 AM in Courtroom 26A- IN PERSON before Judge Beryl
                              A. Howell. (ztg) (Entered: 05/10/2023)
  05/10/2023                  MINUTE ORDER (paperless) GRANTING plaintiffs' 58 Unopposed Motion for Order
                              Permitting Plaintiffs to Serve a Rule 45 Subpoena on Third-Party Jenna Ellis via
                              Alternative Service and Amending the Scheduling Order to Permit Plaintiffs to Take Three
                              Depositions After the Close of Fact Discovery ("Pls.' Mot."), upon consideration of this
                              Motion and the accompanying affidavits indicating plaintiffs' repeated efforts to contact
                              and serve Jenna Ellis ["Ellis"], see [58-1] Declaration of Attorney John Langford in
                              Support of Pls.' Mot.; [58-7] First Email Chain with Ellis' Counsel; [58-8] Second Email
                              Chain with Ellis' Counsel; [58-9] May 8, 2023, Affidavit of Due Diligence; [58-11] May 9,
                              2023, Affidavit of Due Diligence; [58-12] Email Chain with Defendant's Counsel; [58-13]
                              Email Chain Between Private Investigator and USPS; and [58-14] Ellis USPS Request.

                              While Federal Rule of Civil Procedure 45(b)(1) contemplates that third-party witnesses are
                              to be personally served, see Call of the Wild Movie, LLC v. Does 1-1,062, 770 F. Supp. 2d
                              332, 362 (D.D.C. 2011) ("The Federal Rules of Civil Procedure requires personal service
                              of subpoenas. See FED. R. CIV.P. 45(b)(1)."), "alternative forms of service may be
                              acceptable under Rule 45," particularly "where the witness is aware of the lawsuit, knows
                              that one of the parties is interested in h[er] testimony, and is aware that there have been
                              multiple attempts at personal service, and where the proposed alternative service is
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                          reasonably designed to insure the witness' receipt of the subpoena," Order, OAO Alfa Bank
                          v. Ctr. For Public Integrity, No. 1:00-cv-02208-JDB (D.D.C. Jan. 6, 2004); accord United
                          States ex rel. El-Amin v. George Washington Univ. , No. 1:95-cv-02000-CKK, 2000 U.S.
                          Dist. LEXIS 15635, at *34 (D.D.C. Oct. 23, 2000); Order, Rich v. Butowsky, No. 18-cv-
                          681-RJL (D.D.C. Jan. 24, 2020), ECF No. 133; Minute Order (Dec. 20, 2022) (authorizing
                          service of Rule 45 Subpoena on third-party Katherine Friess via Alternative Methods).

                              Here, these factors are fully met: (1) Ellis is likely aware of this lawsuit, given that she was
                              added to defendant's initial disclosures, plaintiffs have attempted to serve her three times at
                              an address where she is believed to have recently resided and where her mother currently
                              resides--including one attempt in which "a woman was in the house when the process
                              server attempted service, but refused to come to the door"--and they have contacted
                              lawyers known to have represented Ellis in another matter and who indicated that they
                              were discussing plaintiffs' request with Ellis, Pls.' Mot. at 7-8, 11-12; and (2) plaintiffs
                              have offered six other forms of service that will give actual notice of the action to Ellis, id.
                              at 12-13.

                              Accordingly, plaintiffs are DIRECTED to serve a third-party subpoena on Jenna Ellis by
                              each of the following means: (1) emailing a copy of this order authorizing alternative
                              service and the subpoena to Ellis's lawyers with whom they have been conferring with
                              regarding Ellis's compliance with the subpoena in this matter, (2) sending a copy of the
                              order and confirmatory copy of the subpoena to the Colorado address where plaintiffs have
                              attempted to serve Ellis three times, (3) emailing a copy of the order and confirmatory
                              copy of the subpoena to the email addresses plaintiffs have for Ellis, (4) sending a copy of
                              the order and confirmatory copy of the subpoena to Ellis via direct message to her Twitter
                              account, where she announced her recent move to an unknown address in Florida, see [58-
                              10] April 23, 2023, Ellis Tweet, (5) sending a copy of the order and confirmatory copy of
                              the subpoena to Ellis via direct message to her Instagram account, and (6) sending a copy
                              of the order and confirmatory copy of the subpoena to Ellis via direct message to her
                              Facebook account. It is further ORDERED that plaintiffs may take the deposition of Ellis,
                              Giuliani Partners LLC, and Giuliani Communications LLC after fact discovery closes on
                              May 22, 2023. Signed by Judge Beryl A. Howell on May 10, 2023. (lcbah4) (Entered:
                              05/10/2023)



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